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                                           UNITED STATES DISTRICT COURT FOR THE
              14                      NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DMSION
              15
                                                                                Case No.5: ll-cv-02449-EJD-PSGx
              16        DOE I, DOE II, Tvy HE, DOE III, DOE IV,
                        DOB V, DOE VI, ROE VII, Charles LEE,                    Assigned to the Honorable Edward J. Dayila,
              17        ROE VIII, and LTU Guifu,                                U.S.DJ.
              18
                                        Plaintiffs,                             DECLARATION OF TERRI MARSH IN
              19                vs.                                             SUPPORT OF PLAINTIFFS' MOTION
                                                                                FOR LEAVE TO FILE A SECOND
              20        CISCO SYSTEMS, me., John CHAMBERS,                      AMENDED CO:MPLAINT
                        Thomas LAM, Owen CHAN, Fredy
              21                    Acti.on Filed: May 19,2011
                        CHEUNG, and DOES 1-100,
                                    FAC Filed: Sept. 2, 2011
              22       Defendants.  Hearing: September 20, 2013
              23                    Time:  9:00 a.m.
                 ___--------------1 Courtroom: 4, 5th Floor
              24

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                                 DECL. OF TERRI MARSH IN SUPPORT OF PLATNTIFFS' MOT, FOR LEA VB TO Frr..E A SECOND AMENDED COMPL,
                                                                                                          CI\$C No.5: ll-cv-02449-eJD-P5G
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             1                                      DEC.LARATION."..oF TERRI MARSH
             2             f, TERRI MARSH, declare:

             3             1.        I am the lead attorney for the Plaintiffs in the above-entitled case and make this

             4     Declaration in support of Plaintiffs' Motion for Leave to File a Second Amended Complaint. I am

             5     an active member in good standing of the D.C. State Bar and the federal bars of the Northern

             6     District of TlIinois and the District of Columbia, the bars of the First Circu.it~ Second Circuit,

             7     Seventh Circuit, and Supreme Court of the United States of America. J directed a Youth Court

             8    diversion program for first time juvenile offenders in the District of Columbia in connection with

             9    my service as a defense attorney. Since 2000, I have represented victims of torture and

         to       persecution in United States District Courts, including the filing of numerous cases under the

         1.1      Ati.en Tort Statute and the Torture Vict;m Protection Act. I am now the Executive Director and
         12       Senior Litigation paltner of the Human Rights Law Foundation ("HRLF"), launched in 2005. As

         13       such~ I coordinate and manage the legal and policy work of the Foundation, litigating human

         14       rights cases in the US and assisting with cases filed abroad on behalf of dissidents and persecuted

         15       groups from China. HRLF also advocates for dissidents ill China through human rights reports
         16       and projects. 1 am also the author of numerous works on the state of human rights and law in

         17       China, and chaired a 2010 panel at Harvard Law School, "Seeking Corporate Responsibility I

         18       Human Rights: Everyone's Business."

         19               2.         This is an action for violations of international law, under both direct and

         20       secondary theories of liability, brought under the Alien Tort Statute ("A TS"). TIle violations

         21       addressed include torture, prolonged arbitrary detention, extrajudicial killing, and forced labor.

         22       Related violations are alleged under California state law and under the Torture Victim Protection

         23       Act ("TVPA").

         24               3.         This action was on hold from November 9,2011 to July 16, 2013, pending the

         25       resolution of Kiobel v. Royal Dutch Shell Petroleum, 569 U.S. _ _ (slip op.), 133 S.Ct. 1659

         26       (201.3) (See Dkt. No. 79, 100). Plaintiffs now seek to amend based in part on the disposition of

         27       Kiobel, which outlined a new standard for extraterritorial recognition of ATS claims, and in part
         28       based on evidence newly discovered during the intervening period.
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             I            4,       New evidence was discovered during our evidence gathering efforts related to the

             2     key issues raised in Kiobel. After Kiobel, conduct and direct actions by Cisco Systems, Inc.

             3     ("Cisco'') and the other Defendants in San Jose became legally relevant.

             4            5.       As part of our due diligence in evidence gathering related to the key issues of

             5     Kiobet, Plaintiffs attorneys' retained the services of new staff members and others engaged in
             6     evidentiary research.

             7            6.       The new staff members included Dr. Can Sun, J.D., Ph.D. Dr. Sun's expertise in
             8     technology and Chinese implementation of high-tech systems, alongside his language abilities

             9     and legal knowledge. uniquely qualified him to conduct such research and evidence gathering. As

         10       the editor-in-chief ofthe Yale Law and Technology Journal, a Princeton Ph.D. graduate in

         II       engineering, and, inter alia. a published translator (from Chinese to English). HRLF hired Dr. Sun

         12       while this case was on hold.

         13               7.      Based on the parties' briefs filed in Kiobel, Plaintiffs asked Dr. Sun to conduct

         14       electronic searches of Chinese and English-language technical materials, located on difficult to

         15       access Internet and Intranet web servers, as well as to locate Cisco training manuals, and highly
         16       rare and difficult to find Public Security Annual Reports (Chinese: gong 'an nianjian) for the

         17       following: (1) Evidence of design, implementation and optimization activity by Cisco and

         18       especially Defendants in San Jose, that more directly tied San Jose to acts of identification,

         19       tracking. ideologically converting, capturing and isolating Falun Gong made possible via the

         20       Golden Shield. and (2) Evidence of design, implementation and optimization activity by Cisco,

         21       and especially Defendants in San Jose, that more directly tied San Jose to the alleged conduct.

         22               8.      Based on three reports Dr. Sun completed on Or around April of2012, we were

         23       able to discover and include in the [Proposed] Second Amended Complaint in greater detail the

         24       specific features developed by Cisco in San Jose, which facilitated identification. tracking,

         25       capture, detention, and ideological conversion through torture of Palun Gong adherents. See FAC,

         26       Dkt. 62~ 1.

         27               9.      HRLF also hired Guanghong Jin, a former professor of Political Science and

         28       human rights attorney with two decades of academic and professional experience in China. Mr.
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             1    Jin came to the United States seeking political asylum within the last six months, and during the
             2    period of hold. He provided information regarding the unique role ofthe Chinese Communist

             3    Party (as opposed to People's Republic of China state apparatuses) in initiating and running all

             4    douzheng (persecutory) campaigns in China, throughout the history of the Chinese Communist
             5    Party, supported with detailed evidence and analysis.

             6            10.      Mr. Jin also provided evidence and information regarding the extent to which and-

          7       Falun Gong features and functionality of the Golden Shield constituted a radical intensification
             8    and improvement of existing and earlier douzheng campaign practices. He also provided related
             9    evidence regarding specific human rights violations, which were preexisting features of douzheng

         10       campaigns, that were incorporated on a vastly increased scale and in new ways via the Golden

         11       Shield. These abuses include: (1) arbitrary prolonged confinement of Falun Gong; (2) extmlegal
         1.2      banniog alId vilificatio.n of all activity identifying oneself as a Falun Gong adherent; (3) the use of

         13       torture to force conversion or renunciation of affiliation with a targeted minority group; and (4)

         14       other related means of intimidation and human rights abuse, and violations of international,

         15       California, and Chinese law, alleged 1n the [Proposed] Second Amended Complaint.

         16              11..     New evidence was also discovered during the period of stay by Charles Yu, a

         17       Chinese technology expert, with direct experience with the Golden Shield projec~ who had been

         t8       imprisoned in China throughout the proceedings of the case. Mr. Yu is currently seeking asylum
         19       in the United States after being released from prison in China and escaping to the United States in

         20       May, 2013. He provided to Plaintiffs new evidence regarding: (I) the role of the Chinese

        21        Communist Party in dealing directly with Cisco headquarters in San Jose to plan and carry out the
        22        Golden Shield project; (2) the specific course of dealing by which Cisco San Jose and Chinese
        23        Communist Party leaders planned and carried out the Golden Shield project, including the

        24        importance of developing mutually beneficial interpersonal relationships; (3) the audiences of

        25        Cisco marketing materials used for or in relation to the Golden Shield project; and (4) the degree
        26        to which technical requirements ofthe Golden Shield's anti-Falun Gong features depended upon

        27        specific, purposeful design to meet such o~jectives.

        28               12.      Finally, evidence was provided by Peng Yongfcng, a Chinese human rights lawyer
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           1    who obtained asylum in the United States due to his discovery of the threat of imminent detention
           2    based on his representation of Falun Gong adherents. Mr. Pe,ng applied for asylum in March,
           3    2011. He contacted Plaintiffs' lawyers with evidence and related information regarding the
           4    Golden Shield use by Chinese security forces. This information was re1ated to: (1) Mr. Peng~s
           5    contact with security officers in China whom he knew weU and who provided information
           6    regarding the Golden Shield's use in China to target Falun Gong adherents. Mr. Peng also
           7    provided us with official documents relating to this issue; (2) more specific information regarding
           8    the role of the Chinese Communist Party in administering the persecutory campaign against
           9    Falun Gong; and (3) a detailed analysis of the operation ofCbincse Reeducation Through Labor
          10    facilities (Laojiao), such as those in which Plaintiffs were detained.
          11           I declare under penalty ofpe~iury ofthe laws of the United States that the foregoing is true
          12    and correct.
          13           Executed this 1st day of August 2013, at Washington, D.C.

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          16                                                           Terri E. MaJ:Sh, Esq.
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